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Michael Cantrell

From:                            Matthew A. Kezhaya <matt@kezhaya.law>
Sent:                            Wednesday, August 28, 2019 3:18 PM
To:                              Michael Cantrell
Cc:                              Stuart de Haan, Esq.
Subject:                         Re: Cave v. Thurston - Discovery Reqs. to Intervenors - Follow Up



Michael,

Thank you for your continued patience. I have been locked up in deadlines, depositions,
and depositions preparation since we spoke. I am still in the process of procuring
documents from my clients, but they are stored in disparate places and in a disparate
manner. As we discussed on the phone, I anticipate they will be "dripping in." Since
your email, Stu and I have separately followed up with TST's record custodians and
expect some additional documents shortly.

I am holding TST to my agreement to produce the various documents previously
identified. I am also giving you my personal word that you will receive those documents
faster and with less effort expended on Defendant's part through informal proceedings
than through an order to compel discovery.

Matthew A. Kezhaya

Kezhaya Law PLC
1202 NE McClain Rd
Bentonville, AR 72712
p: (479) 431-6112
f: (479) 282-2892
e: matt@kezhaya.law

This message may contain confidential or privileged information and was intended for a
particular recipient. If it appears that I sent this to you in error, please inform me and
delete this message.


On Mon, Aug 26, 2019 at 12:56 PM Michael Cantrell <michael.cantrell@arkansasag.gov> wrote:

 Matt,



 Good afternoon. I’m writing about the outstanding discovery requests in Cave v. Thurston. One month ago I sent you a
 lengthy good‐faith letter concerning various deficiencies in the unsigned responses you had served a few days
 beforehand. Thanks again for the productive phone conference we had on August 5. Since then, you’ve produced one
 set of emails pertaining to the Satanic Temple’s application to place a monument (in an Aug. 5 email) and one set of
 emails from the Satanic Temple to members of the General Assembly (in an Aug. 14 email). Thank you for
 those. However, I’ve not received any other responses, including those that you agreed to provide.
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As we have discussed, the Defendant needs the Intervenors’ responses to the interrogatories and RFPs to prepare for
depositions. It has now been over two months since we made our requests and over a month since responses were
due. I’m sure you’ll understand that I must press you to provide your responses and the requested documents. Please
let me know where you stand with these requests so we can evaluate how to proceed.



Regards,



Mike




Michael A. Cantrell

Assistant Solicitor General

Office of Arkansas Attorney General Leslie Rutledge




323 Center Street, Suite 200

Little Rock, Arkansas 72201

Office: 501.682.2401│ Fax: 501.682.8162

Michael.Cantrell@ArkansasAG.gov │ ArkansasAG.gov



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From: Michael Cantrell
Sent: Tuesday, August 13, 2019 11:44 AM
To: 'Matthew A. Kezhaya'
Cc: Stuart de Haan, Esq.
Subject: Cave v. Thurston - Discovery Reqs. to Intervenors - Follow Up




Matt,


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                                                                                                                                                                                                                                                                                                            Def. Exh. F, p. 2
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Good morning. Thanks again for our productive phone conference Monday of last week on the discovery requests. I’m
following up, and I hope you can provide me with the agreed items this week. Please let me know when you anticipate
being able to do so. We will need to have your responses and production to prepare for depositions.



Regards,



Mike



Michael A. Cantrell

Assistant Solicitor General

Office of Arkansas Attorney General Leslie Rutledge




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Michael.Cantrell@ArkansasAG.gov │ ArkansasAG.gov




From: Matthew A. Kezhaya [mailto:matt@kezhaya.law]
Sent: Monday, August 5, 2019 1:50 PM
To: Michael Cantrell <michael.cantrell@arkansasag.gov>
Cc: Stuart de Haan, Esq. <stu.dehaan@gmail.com>
Subject: Re: Cave v. Thurston (4:18‐cv‐342) ‐‐ Call notes re: discovery supplementation




Thanks, Mike, it was great chatting with you. I'll circle back with Stu today and hope to have some
productions trickling in starting next week.



On Mon, Aug 5, 2019, 1:39 PM Michael Cantrell <michael.cantrell@arkansasag.gov> wrote:

 Matt,
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                                                                                               Def. Exh. F, p. 3
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Thanks for returning my call, and for a productive, amicable two‐hour phone conference concerning the discovery
issues today. Also thanks for sending your call notes.



As I stated, we will not plan to file a motion to compel this discovery this coming Monday so long as we are satisfied
that we are working out the identified issues in good faith. And our call was a good start to that process. But please do
provide the information and documents as soon as possible so we can have them for depositions.



I look forward to getting your responses.



Regards,




Mike




Michael A. Cantrell

Assistant Solicitor General

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From: Matthew A. Kezhaya [mailto:matt@kezhaya.law]
Sent: Monday, August 05, 2019 1:21 PM
To: Michael Cantrell
Cc: Stuart de Haan, Esq.
Subject: Cave v. Thurston (4:18-cv-342) -- Call notes re: discovery supplementation




Agreed productions:

Emails to and from the GA members
IRS letter; if there is a MA analogue
Where does the money go for TST purchases and contributions
Bill of sale / IP agreements for Baphomet
What is the name of the artist?
ROG 8 to TST - what is the symbolism
RFP 8 to TST
representative photos and video
- rally for rick scott
- pink mass
- 10C installation v2
- rally for religious liberty
- photos of events at Salem HQ
Doug's case where he served as an expert on Satanism in February 2019

Circle back:
- TST operating agreement
- protective order for identification of TST members / contributors / national counsel
- operating budget / tax returns
- application(s?) for tax exempt status
- RFP 5 to TST
- RFP 6 to TST
- RFP 9 to TST

Supplemented discovery or objections for Erika:
- RFP 1 -- get better estimates of dates, if possible; likewise with places
- ROGs 5-6 -- supplement with either the records or an identification of the records for
purposes of determining privilege
- ROG 7 -- drill down to before or after the 10C monument viewing?




Matthew A. Kezhaya
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                                                                          Def. Exh. F, p. 6
